     Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 1 of 7 Page ID #:399




            I   COLLINSON, DAEHNKE,INLOW & GRECO
            I   Laura E. Inlow, Esq., State Bar No. 130584
                Email: laura.inlow(Dcdi glaw.com
            3   21515 Hawthome Blvd., Suite 800
            4
                Torrance, CA 90503
                Telephone: (424) 212-7 7 7 7
            5   Facsimile: (424) 212-7 7 57
            6
                Attomeys for Defendant, COUNTY OF LOS ANGELES
            7

            8                         UNITED STATES DISTRICT COURT
            9
                          CENTRAL DISTRICT OF CALIFORNIA _ WESTERN DIVISION
           l0
                DANIELNERSOYAN,                              CASE NO. CV19-08109 SVW (MAAx)
o
o          ll
t!                                 Plaintiff,
d
Oe h       l2
>*'31      l3
:1<x                                                         DECLARATION OF LT. RON
z tr?:     t4                                                KOPPERUD IN SUPPORT OF
llJ.oEi         COUNry OF LOS ANGELES,           a
                                                             DEFENDANT COUNTYOF LOS
           l5   counry corporation; COUNTY OF LOS
i(ot            ANGELES STIERIFF'S                           ANGELES'MOTION FOR
<i9N            DEPARTMENT- a oublic enriw:
oi<-i'     l6                                                SUMMARY JUDGMENT
jrax            SHERIFF JAMES MCOOTVXELL. iN
<n9 j      l7   his official caoacitv and as an
z.
J
       H        individuall DEPUTY KENNETH
J
           l8   COLLINS, individually and in his             Date: November 30, 2020
o               official capacity as a Deputy. and
o                                                            Time: l:30 p.m.
           19
                DOES I tfrrough 10. inclusrve
                                                             Dept.: l0A
           20                      Defendants.
                                                             Action Filed: September 18,2019
           2l                                                Trial Date: January 12,2021
           11

           23         I, Lieutenant Ron Kopperud declare:
           24
                   1. I am a Lieutenant with the Los Angeles Sherifls Department (LASD) and
           25
                am presently assigned to the Intemal Affairs Bureau.
           26

           27

           28

                                                         I

                                         DECL,{RATION OF LT. RON KOPPERUD
      Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 2 of 7 Page ID #:400




             I      2. I make   and give the following declaration based on personal knowledge and
             )
                 testifu thereto under oath.
             3

             4
                    3. I graduated from the Sherifls Academy 1997. After completing my

                 Academy training, my first assignment was in the Custody Division, Men's Central
             6
                 Jail. I promoted to Lieutenant in 2016.
             7

             8
                    4. I have been a Lieutenant    in the LASD Intemal Affairs Bureau from May       of
             9   201 8 to the present.

            l0
                    5.   Based on my twenty-three years of experience with the     Sherifls
o           1l
o
til
E                Department and my experience as a Lieutenant of the Intemal Affairs Bureau, I am
oc      F   t2
>*'3:       13
Qd,2e            personally familiar with the Sheriff Department's policies on investigations into
z
  ^z 7:
 -ao>       t4
                 allegations of depufy misconduct and discipline for deputy personnel.
            l5
dt?^        16      6.   At all times relevant to this matter, the LASD   has had written policies

t/,9    j   l7
z-      E        regarding deputy behavior, both on and off duty, as well as the process for
)o
J
            l8
O                investigating extemal and intemal complaints about alleged misconduct of deputy
            l9
            20   personnel. The primary guide of deputy conduct is the written Manual of Policy

            2l   and Procedure (MPP).    All   deputies are trained on and have access to the written
            ))
                 MPP.
            23

            24      7.   At all times relevant to this matter, the LASD also had a written booklet
            ,E
                 entitled Guidelines for Discipline which was designed to assist supervisors.
            26
                 managers, and executives in determining when and how to impose discipline on
            27

            2E


                                                             -2-
                                           DECLARATION OF LT. RON KOPPERUD
     Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 3 of 7 Page ID #:401




            1   deputy personnel. It was also designed to notify Department employees      of
            1
                Department policy and practice relating to discipline.
            3

            4
                   8.   The Intemal Affairs Bureau, when requested, is responsible for handling

            5   administrative investigations related to policy violations. The determination to
            6
                cpen an investigation remains at the Unit Commander's level or higher.    If discipline
            7

            E
                s determined   to be appropriate, the Department's possible disciplinary steps from

            9   east severe to most severe are as follows: written reprimand, suspension, salary
           10
                step reduction, bonus removal, demotion, and discharge.
o          1l
t!
t
oe         t2      9.   Department policy mandates and deputy personnel are trained that they are
od1o\I
>F'3:      l3   subject to discipline for certain off-duty incidents/behaviors as well as on-duty
9 4?s
Z  o 1!-
ltXx
ur6ft      l4
v',,f1          acts.
           15
=E5[
3 5?H               10. The imposition of discipline would follow an investigation to determine the
           l6
           t7
z'
J
J
       H        facts, an evaluation ofwhether the facts reflect employee misconduct, an
o          l8
o               assessment of the significance of the misconduct and the proper disciplinary
           l9
           20   response. The extent and who conducts the investigation depends on the nature        of
           2t   the allegations and the misconduct alleged.
           22
                    11. It is the policy of the LASD to receive civilian   complaints and respond
           23

           24   with a supervisory review of the complaint.
           25
                    1?. In response   to a civilian complaint, policy dictates that the Department
           26
                initiate a supervisory inquiry which is a supervisory review of the incident that
           27

           2E   culminates in a written Watch Commander Service Comment Report (WCSCR).

                                                          -J-
                                          DECLARATION OF LT. RON KOPPERUD
      Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 4 of 7 Page ID #:402




                 I    Once completed, the WCSCR is forwarded to the appropriate Division.            If there are
                 1
                      allegations of criminal misconduct, the Unit Commander will advise the Division
                 3

                 4
                      Chief and the Intemal Criminal Investigative Bureau will be notified to conduct a

                 5    review and initiate   a   criminal investigation. Ifthe conduct is considered   a

                 6
                      department policy violation, an administrative investigation      will be conducted. The
                 7

                 8
                      WCSCR shall be completed and shall also be forwarded to the concemed Division.

                 9       13.   Per Policy, the Unit Commander reviews all WCSCR's and a letter is sent
               l0
                      to the complaining civilian summarizing the results of the inquiry advising the
(.)            ll
UI
E                     civilian that if they are dissatisfied with the results, they may contact the Unit
(9q        h   l2
"6;-F
>r'3s          13     Commander or Office of Inspector General. Regarding Administrative
9;?s
z 62!
               t4
V ','
      =:
                      Investigations, the LASD also has a written Administrative Investigations
iE5[           l5
6 E?i          l6     Handbook.
,ffS
9:  d          l7        14. The results of Administrative Investigations are classified in one of the
)
)              18
o                     following ways: l) exonerated, meaning the investigation established by clear and
               l9
               20     convincing evidence that either the employee was not involved or the allegation

               2l     against the employee is demonstrably false; 2)founded, meaning the investigation
               "r',
                      determined the allegation was true and the actions violated the law or Department
               23

               24     policy: 3) unfounded, meaning the investigation established by       a   preponderance   of
               25
                      the evidence that the allegation is not true; and   4)   unresolved, meaning insufficient
               26
                      evidence to support either the complainant's version ofthe incident or the
               27

               2E     Department member's version.

                                                                   -4-
                                                   DECLARATION OF LT. RON KOPPERUD
      Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 5 of 7 Page ID #:403




             I      15. When the Administrative Investigation is completed at the unit level, the
             2
                 Unit Commander adjudicates the case and determines the appropriate disposition.
             3

             4
                    16. I have reviewed the Performance Recording         and Monitoring System

             5   (PRMS) report of former deputy Kenneth Collins. In the fifteen years in which
             6
                 Collins was employed as a deputy Sheriff, he received eight public commendations
             7

             8
                 and five Unit Commander commendations. He was also the subject of six civilian

             9   complaints, which were all the subject of investigations resulting in a Watch
            l0
                 Commander's Service Comment Report.
o           l1
uJ
tr                  17. Aside from complaints of rude or discourteous       service, two of the
oc I        t2
            l3   complaints alleged theft of money prior to May of 2014 and I have reviewed these
9;Is
Zaz-.       l4
rid'YS           WCSCR's. In 2007, two suspects alleged that Deputy Collins and his partner had
icot        l5
< i9r.
oE?i.       l6   stolen money from them during their arrest. The money had been seized and
6:9s
a2 j        t7
z*
J
        H        counted in the presence of a sergeant and neither suspect complained at the time     of
o           r8
(,)
                 their booking. The conduct of Depury Collins and his partner was determined to be
            l9
            20   reasonable.

            2t        I   8.   In 2008, another suspect complained that Collins and a different partner
            ))
                 stole money from a vehicle that had been sent to a tow yard. The suspect did not
            23

            24   complain at the time of booking. The complaint of stolen money came after the car

            25
                 had been towed and stored at the tow yard, outside the custody of the LASD. After
            26
                 an inquiry, no determination could be reached.
            27

            28



                                             DECLARATION OF LT. RON KOPPERUD
       Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 6 of 7 Page ID #:404




                   I         19. As such, prior to May of 2014, there were two allegations of theft against
                   2
                        then Deputy Collins. One in which the conduct of Collins was determined to be
                   3
                        reasonable and one on which no determination could be made. Both claims were
                   4

                   5    thoroughly investigated per policy
                   6
                            20.   The claim by Daniel Nersoyan regarding theft of money in 2014 was
                   7

                   8
                        investigated by then Sergeant and now Lt. Kimura. It is my understanding that Lt.

                   9    Kimura is submitting his own declaration outlining his investigatory steps.
                  l0
                            I declare under penalty of perjury under the laws of the United States of
o
O                 il
t!
E                       America that the foregoing is true and correct to the best of my knowledge.
(,                l2
od

o                 l3        Executed this 22nd day of October 2020 in Commerce,, Califomia.
)
=
z ozg
                  t4
Ll.l   dEs
Y
zI                l5                                          <--=>/2..-.__-----...-
Ll.l
       il,r   :                                               f--.:------\--.
o <?N             t6
, +rs
o                                                             Lt. Ron Kopperud
q
z      eH         t7
J=
 o                l8
                  19

                  20

                  2t
                  'r)
                  23

                  24

                  25

                  26
                  'r1

                  28


                                                                  -6-
                                                Df,CLAR{TION OF LT. RON KOPPERUD
                                               Case 2:19-cv-08109-SVW-MAA Document 46-4 Filed 10/26/20 Page 7 of 7 Page ID #:405




                                                                         1                                  Nersoyan v. COLA
                                                                         2
                                                                                                           Case No. CV19-08109

                                                                         3              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                         4
                                                                                   I am employed in the County of Los Angeles, State of California. I am over
                                                                         5   the age of 18 and not a party to the within action. My business address is 21515
                                                                         6   Hawthorne Blvd., Suite 800, Torrance, California 90503.

                                                                         7         On October 26, 2020 I served the following document described as:
                                                                             DECLARATION OF LT. RON KOPPERUD IN SUPPORT OF DEFENDANT COUNTY
                                                                         8
                                                                             OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT on all interested parties
                                                                         9   in this action by placing [X] a true copy [ ] the original thereof enclosed in
                                                                             sealed envelopes addressed as follows:
                                                                        10

                                                                        11                                  Counsel for Plaintiff
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                         Michael S. Devereux, Esq.
                                                                        12                    WEX LAW A PROFESSIONAL LAW CORPORATION
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                                     1880 Century Park East, Suite 1101
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                                          Los Angeles, CA 90067
                                                                        14                                  Tel: 213-986-9844
                                                                                                            Fax: 213-342-6190
                                                                        15                                Email: mike@wex.law
                                                                        16
                                                                                    [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        17
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                        18
                                                                             processing correspondence for mailing. Under that practice, this document will be
                                                                        19   deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        20
                                                                             on motion of the party served, service is presumed invalid if postal cancellation
                                                                        21   date or postage meter date is more than one day after date of deposit for mailing in
                                                                             affidavit.
                                                                        22

                                                                        23          [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                             of the bar of this Court at whose discretion the service was made.
                                                                        24
                                                                                   Executed on October 26, 2020 at Torrance, California.
                                                                        25

                                                                        26                                          /s/ Marianne M. Guillinta
                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                    -1-
                                                                                                    DECLARATION OF LT. DOUGLAS KIMURA
